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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

UNITED STATES OF AMERICA

Vv. NO. 3:19-CR-083-M
JEREMY SCROGGINS (3)

INFORMATION
The United States Attorney Charges:
Count One
Misprision of a Felony
[Violation of 18 U.S.C. § 4]

On or about the 9" day of January, 2015, in the Dallas Division of the Northern
District of Texas, the defendant, Jeremy Scroggins, having actual knowledge of the
commission of a felony cognizable by a court of the United States, to wit, Conspiracy to
Commit Bribery Concerning Programs Receiving Federal Funds, in violation of 18
U.S.C. § 371, did conceal the same by using his not-for-profit company to funnel a bribe
payment from Ruel M. Hamilton to Dallas City Council Member Carolyn Rena Davis
made in furtherance of Hamilton’s and Davis’s conspiracy, and Scroggins did not as
soon as possible make known the federal crime of Conspiracy to Commit Bribery to

some federal judge or some other federal civil or military authority.

All in violation of 18 U.S.C. § 4.

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